               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                             Plaintiff,              Case No. 21-CR-90-2-JPS

 v.

 TROY WALTER,
                                                                    ORDER
                             Defendant.


       On May 4, 2021, the grand jury returned a three-count indictment,

charging Defendant with two counts of violating of 18 U.S.C. §§ 2(a),

924(c)(1)(A)(ii), 2119(1). (Docket #1). On August 26, 2021, the parties filed a

plea agreement indicating that Defendant agreed to plead guilty to Counts

One and Two of the Indictment. (Docket #21).

       The parties appeared before Magistrate Judge William E. Duffin on

September 9, 2021 to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. (Docket #26). Defendant entered a plea of guilty as

to Counts One and Two of the Indictment. (Id.) After cautioning and

examining Defendant under oath concerning each of the subjects

mentioned in Rule 11, Magistrate Duffin determined that the guilty plea

was knowing and voluntary, and that the offense charged was supported

by an independent factual basis containing each of the essential elements of

the offense. (Docket #27 at 1).

       That   same    day,    Magistrate    Duffin   filed   a   Report   and

Recommendation with this Court, recommending that: (1) Defendant’s plea

of guilty be accepted; (2) a presentence investigation report be prepared;



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and (3) Defendant be adjudicated guilty and have a sentence imposed

accordingly. (Id. at 2). Pursuant to General Local Rule 72(c), 28 U.S.C. §

636(b)(1)(B), and Federal Rule of Criminal Procedure 59(b), the parties were

advised that written objections to that recommendation, or any part thereof,

could be filed within fourteen days of the date of service of the

recommendation. (Id.) To date, no party has filed such an objection. The

Court has considered Magistrate Duffin’s recommendation and, having

received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s Report

and Recommendation (Docket #27) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 28th day of September, 2021.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




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